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                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

IN RE:        ERIC LONG,                          :      Chapter 7
                                                  :
                     Debtor                       :      Bky. No. 17-10828 ELF

                                        ORDER

       AND NOW, upon consideration of the Debtor’s letter to the court, received on

November 21, 2018, which shall be treated as Motion to Reopen this closed bankruptcy case

(“the Motion”);

       AND, the Motion presenting no arguments not previously considered by the court before

this case was closed on December 4, 2017;



       It is therefore ORDERED that the Motion is DENIED.




Date: November 28, 2018
                                     ERIC L. FRANK
                                     U.S. BANKRUPTCY JUDGE



cc:    Eric Long
       1000 Follies Road, Drawer K
       Inmate #LY 2843
       SCI Dallas
       Dallas, PA 18612
